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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MARTIN MCCURTIS,

      Plaintiff,
                                            No. 2:13-cv-15265
v
                                            HON. DENISE PAGE HOOD
JONATHAN HENRY, MARK
BESSNER, RONALD COURTLEY,
BENJAMIN GARRISON, JOHN
DOES, in their individual capacities,
jointly and severally,

     Defendants.
_________________________________/

Matthew S. Kolodziejski (P71068)
Law Office of Matthew S. Kolodziejski
Attorney for Plaintiff
500 Griswold Street, Ste 2340
Detroit, MI 48226
(313) 736-5060

Joseph T. Froehlich (P71887)
John G. Fedynsky (P65232)
Attorneys for Defendant Bessner
Michigan Dep’t of Attorney General
Public Employment, Elections & Tort
P.O. Box 30736
Lansing, MI 48909
(517) 373-6434
                                                                              /

      DEFENDANTS HENRY, BESSNER, COURTLEY, AND
      GARRISON’S ANSWER TO COMPLAINT, NOTICE OF
       AFFIRMATIVE DEFENSES, AND RELIANCE UPON
               PLAINTIFF’S JURY DEMAND
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      Defendants Jonathan Henry, Mark Bessner, Ronald Courtley, and

Benjamin Garrison, by counsel, state the following for their Answer to

Plaintiff’s Complaint:

                      JURISDICTION AND VENUE

      1.    The allegation contains statements of law, and not fact, for

which no answer is necessary.

      2.    Defendants do not contest the allegations of paragraph 2.

      3.    Defendants do not contest the allegations of paragraph 3.

      4.    The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

                       PLAINTIFF AND DEFENDANTS

      5.    Defendants adopt by reference their responses to paragraphs

1 through 4.

      6.    The allegation is neither admitted nor denied for the reason

that the Defendants lack knowledge or information sufficient to form a

belief as to its truth, and Plaintiff is left to his proofs.
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      7.    Admitted.

      8.    The allegation is neither admitted nor denied for the reason

that the Defendants lack knowledge or information sufficient to form a

belief as to its truth, and Plaintiff is left to his proofs.

      9.    Admitted.

      10.   The allegation contains statements of law, and not fact, for

which no answer is necessary.

                           GENERAL ALLEGATIONS

      11.   Defendants adopt by reference their responses to paragraphs

1 through 10.

      12.   The allegation is neither admitted nor denied for the reason

that the Defendants lack knowledge or information sufficient to form a

belief as to its truth, and Plaintiff is left to his proofs.

      13.   The allegation is neither admitted nor denied for the reason

that the Defendants lack knowledge or information sufficient to form a

belief as to its truth, and Plaintiff is left to his proofs.

      14.   The allegation is neither admitted nor denied for the reason

that the Defendants lack knowledge or information sufficient to form a

belief as to its truth, and Plaintiff is left to his proofs.


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      15.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      16.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      17.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      18.   Denied as untrue.

      19.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an


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accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      20.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      21.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      22.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      23.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is


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denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      24.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      25.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      26.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.




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      27.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      28.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

                                   COUNT I
                      42 U.S.C. § 1983 – Excessive Force

      29.   Defendants adopt by reference their responses to paragraphs

1 through 28.

      30.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.



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      31.    The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.

                                  COUNT II
            42 U.S.C. § 1983 – Unreasonable Seizure/False Arrest

      32.    Defendants adopt by reference their responses to paragraphs

1 through 31.

      33.    The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.



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      34.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      35.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.

                                  COUNT III
                    42 U.S.C. § 1983 –False Imprisonment

      36.   Defendants adopt by reference their responses to paragraphs

1 through 35.



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      37.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      38.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.

                                  COUNT IV
                         42 U.S.C. § 1983 –Conspiracy

      39.   Defendants adopt by reference their responses to paragraphs

1 through 38.



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      40.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      41.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.

                              STATE LAW CLAIMS

                                  COUNT V
                              Assault and Battery

      42.   Defendants adopt by reference their responses to paragraphs

1 through 41.
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      43.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      44.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      45.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      46.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an




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accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      47.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.

                                 COUNT VI
                Intentional Infliction of Emotional Distress

      48.   Defendants adopt by reference their responses to paragraphs

1 through 47.

      49.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an



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accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      50.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      51.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      52.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation is

denied in the form and manner alleged for the reason that it is not an

accurate statement of fact and asserts an incorrect conclusion of law,

and Plaintiff is left to his proofs.

      WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this


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Honorable Court dismiss Plaintiff’s Complaint with prejudice, along

with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.




                                   DAMAGES

     53.   Defendants adopt by reference their responses to paragraphs

1 through 52.

     54.   The allegation contains statements of law, and not fact, for

which no answer is necessary. Further answering, the allegation

(including subparts a through i)is denied in the form and manner

alleged for the reason that it is not an accurate statement of fact and

asserts an incorrect conclusion of law, and Plaintiff is left to his proofs.

                CONCLUSION AND RELIEF REQUESTED

     55.   Defendants adopt by reference their responses to paragraphs

1 through 54.

     WHEREFORE, Defendants Jonathan Henry, Mark Bessner,

Ronald Courtley, and Benjamin Garrison respectfully request that this

Honorable Court dismiss Plaintiff’s Complaint with prejudice, along


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with an award of costs associated with the defense of this matter, and

any other relief this Court deems appropriate.




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                     AFFIRMATIVE DEFENSES

     PLEASE TAKE NOTICE that Defendants Jonathan Henry,

Mark Bessner, Ronald Courtley, and Benjamin Garrison, by counsel,

assert the following affirmative defenses:

     1.    Some or all of Plaintiff’s losses and damages, if any, was

caused by his own conduct or the conduct of third parties and not

attributable to Defendants.

     2.    Some or all of Plaintiff’s claims may be barred by res

judicata/claim preclusion.

     3.    Some or all of Plaintiff’s claims may be barred by collateral

estoppel/issue preclusion.

     4.    Defendants are entitled to qualified immunity because they

did not violate any clearly established constitutional rights.

     6.    Defendants are entitled to immunity under State law (MCL

§ 691.1407) and common law immunity.

     8.    Some or all of Plaintiff’s claims may be barred by the

applicable statute of limitations.

     9.    Plaintiff’s claims may be barred by Heck v. Humphrey, 512

U.S. 477 (1994).


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     10.   Defendants reserve the right to claim some or all of

Plaintiff’s claims may be barred by the failure to mitigate damages, if

discovery reveals appropriate evidence.

     11.   Plaintiff has failed to state a claim upon which relief may be

granted.

     12.   Plaintiff may be equitably barred from recovery under the

Wrongful-Conduct Rule.

     13.   Defendants reserve the right to raise further defenses or

assert other matters revealed by continuing investigation and

discovery, including all defenses available under the court rules, upon

the completion of discovery and as the Court permits.




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          DEFENDANTS’ RELIANCE UPON JURY DEMAND

     Defendants Jonathan Henry, Mark Bessner, Ronald Courtley, and

Benjamin Garrison, by counsel, rely upon the jury demand filed in this

matter, and will pay any fee upon proper notification by the Court.


                                           Respectfully submitted,

                                           Bill Schuette
                                           Attorney General

                                           /s/ Joseph T. Froehlich
                                           Joseph T. Froehlich (P71887)
                                           Assistant Attorney General
                                           Attorneys for Defendants
                                           Public Employment, Elections &
                                           Tort Division
Dated: February 18, 2014




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              CERTIFICATE OF SERVICE (E-FILE)

     I hereby certify that on February 18, 2014, I electronically filed
the above document(s) with the Clerk of the Court using the ECF
System, which will provide copies to counsel of record and the Lenawee
County Circuit court via US Mail.

                                          //s/ Joseph T. Froehlich
                                          Joseph T. Froehlich (P71887)
                                          Assistant Attorney General
                                          Attorneys for Defendants
                                          Public Employment, Elections &
                                          Tort Division
                                          P. O. Box 30736
                                          Lansing MI 48909
                                          517-373-6434
                                          froehlichj@michigan.gov
                                          P71887




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